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                                                     April 6, 2021
   VIA ECF

   Honorable Vernon S. Broderick
   United States District Court
   Southern District of New York
   Thurgood Marshall United States Courthouse
   40 Foley Square, Room 415
   New York, NY 10007

            Re: EMA Financial, LLC v. TPT Global Tech, Inc.
                Docket No. 20-cv-08781-VSB

   Dear Judge Broderick:

          We represent the Defendant in the above referenced matter and are writing to
   advise Your Honor that the parties have conferred and agreed to a briefing schedule for
   the Plaintiff’s motion for summary judgment.

          The parties have agreed that the Defendant’s opposition to the motion for
   summary judgment will be filed on or before April 30, 2021 and the Plaintiff will file its
   reply on or before May 17, 2021.

            We appreciate Your Honor’s consideration in this regard.

                                                     Respectfully,



                                                     Mark J. Astarita
   cc: Jeffrey Fleischmann, Esq. (By ECF)
